   Case 1:24-cv-00045-ZCB          Document 72       Filed 02/10/25     Page 1 of 4




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA

JEREMY B. HALES,                      :                    Civil Action No.:
                                      :                    1:24-CV-00045-AW-ZCB
           Plaintiff,                 :
     v.                               :
                                      :
LYNETTE MICHELLE LACEY ALEXIS PRESTON :
and                                   :
JOHN COOK,                            :
                                      :
           Defendants                 :


   Defendants’ Conditional Request Under FRCP 41(a)(2) for Order Dismissing
         Counterclaims if Plaintiff’s Action Is Dismissed on 12(b)(1)

       The defendants conditionally request an order under FRCP 41(a)(2)

dismissing their counterclaims without prejudice in the event the Court grants the

defendants’ currently pending motion to dismiss the plaintiff’s lawsuit under

FRCP 12(b)(1). If the Court denies the 12(b)(1) motion, this request is nullity.

       This conditional request is filed prospectively so the Court can know in

advance that should it grant dismissal of the plaintiff’s action, it may

concomitantly dismiss the counterclaims under Rule 41(a)(2).

       Currently pending (Doc. # 67) is a FRCP 12(b)(1) motion to dismiss the

plaintiff’s action on the grounds that (1) the plaintiff invoked federal jurisdiction in

bad faith and on flimsy basis by falsely labeling innocuous statements “extortion”

in his Complaint so that treble damages and attorney fees would be considered

as part of the minimum amount in controversy; and (2) the plaintiff interposed a

false affidavit (Doc. # 8-1, paragraph 19) alleging non-existent “online posts
    Case 1:24-cv-00045-ZCB        Document 72       Filed 02/10/25     Page 2 of 4




calling me a child predator” that were not alleged in the Complaint, specifically to

influence the Court’s exercise of jurisdiction in response to a 12(b)(1) motion.

       The defendants’ counterclaims were interposed with their Answers

because it was and is unknown whether the Court will grant the pending 12(b)(1)

motion. If the 12(b)(1) motion is denied and no counterclaims had been pled, it

would prejudice the defendants’ ability to add the counterclaims thereafter, given

the scheduling order and the plaintiff’s strategy to exploit every possible issue

and proceeding for YouTube content1 and – as he has admitted publicly and

acknowledged in his December 19 deposition – to inflict financial hardship on his

litigation opponents. See Doc. # 68-2 (“I could care less if I win in court. If I win

in court situation, my goal is to make sure you have no money. That is the goal of

the lawsuit.”).

       The defendants’ Count One counterclaim was included also because the

plaintiff has filed a lengthy opposition to the defendants’ motion for an extension

of time to disclose a purely-rebuttal expert, and it was and is unknown if the

Court will grant that motion.

       The defendants file this conditional request in good faith and candor,

because they preferred and prefer not to prosecute counterclaims in the present

action but to file them in a separate action involving all of the defendants’ (and




1
 Since filing this litigation the plaintiff has broadcast dozens of YouTube videos
promoted as “FEDERAL COURT UPDATES”, and these videos garner approximately
50% higher views than those involving routine “storage unit” content.
                                           2
    Case 1:24-cv-00045-ZCB          Document 72        Filed 02/10/25     Page 3 of 4




defendant Preston’s young child’s) causes of action against the plaintiff for using

his YouTube platform to destroy their lives for entertainment and profit.

       If the Court grants the pending 12(b)(1) motion thus dismissing the

plaintiff’s remaining claims, the defendants would ask for an Order as

contemplated in Rule 41(a)(2),2 which provides that “an action may be dismissed

at the plaintiff's request only by court order, on terms that the court considers

proper.” The defendants propose the following:




                                         ORDER

       In light of (a) dismissal of the plaintiff’s action founded on diversity

jurisdiction, and (b) the prejudice to the plaintiff of being required to pursue

counterclaims in this action despite having not intended to do so unless the

plaintiff’s claims were not dismissed, the Court hereby Orders that the

defendants’ counterclaims are dismissed without prejudice under FRCP 41(a)(2).




2
  The defendants cannot dismiss Count Two counterclaim under 41(a)(1)(A)(i) because
to do so would operate as an adjudication on the merits, since the claim under Fla. Stat.
540.08 was previously filed in state court and voluntarily withdrawn under Fla. Rule
1.420(a)(1) to be pursued in federal court.
Requesting dismissal under 41(a)(2) is necessary because the plaintiff’s counsel did not
respond to a request to stipulate (should the 12(b)(1) motion be granted on the plaintiff’s
action) to dismissal of the counterclaims without prejudice under Rule 41(a)(1)(A)(ii),
further demonstrating the plaintiff’s aim of protracting litigation and multiplying
proceedings.

                                             3
   Case 1:24-cv-00045-ZCB       Document 72      Filed 02/10/25     Page 4 of 4




                                  Defendant Cook and Preston,
                                  by:

                                  /s/ Bruce Matzkin, pro hac vice

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                        CERTIFICATION OF SERVICE

      I hereby certify that on February 10, 2025, a copy of this was emailed to
counsel of record for the plaintiff:

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/s/ Bruce Matzkin




                                        4
